  FilingCase 9:23-cv-80344-AMC Document 1-10 Entered on FLSD Docket 03/02/2023 Page 1 of 12
         # 166245168  E-Filed 02/06/2023 07:16:24 PM




                          IN THE CIRCUIT COURT OF THE 15TH JUDICIAL CIRCUIT
                                 IN AND FOR PALM BEACH COUNTY, FLORIDA


                                                       CASE NO.: 50-2022-CA-009847-XXXX-MB


          KWAMAIN ONEAL,
                         Plaintiff,




                                                                                      PY
          vs.




                                                                            CO
          CITY OF RIVIERA BEACH AND JOHN VANDERLAAN


                         Defendant(s),




                                                                     D
          ___________________________________/
                                                              IE
                     MOTION FOR EXTENSION OF TIME AND MOTION TO COMPEL
                                                        IF
          COMES NOW the Plaintiff, KWAMAIN ONEAL (“ONEAL”), by and through his undersigned
                                               RT


          counsel of record and pursuant to Rule 1.070 (j), Fla. R. Civ. P., which provides in pertinent part
                                       CE



          “that if the plaintiff shows good cause...the court shall extend the time for service for an

          appropriate period.” and hereby requests that the Court issue an Order allowing the Plaintiff an
                               A




          additional 60 days, through and including April 7, 2023, to serve the Summons and Complaint on
                         T




          the Defendant, JOHN VANDERLAAN (“VANDERLAAN”), in this matter and compel
                   O




          VANDERLAAN and/or Defendant CITY OF RIVIERA BEACH (“RB”) to produce
                N




          VANDERLAAN’S home address, date of birth and social security number under seal of court in

          order to allow Plaintiff to have VANDERLAAN properly served. In support of said Motion,

          Plaintiff asserts the following:


          1.     Plaintiff filed his Complaint on October 5, 2022.




FILED: PALM BEACH COUNTY, FL, JOSEPH ABRUZZO, CLERK, 02/06/2023 07:16:24 PM
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   2.     Summonses were issued to the Defendant by the Clerk’s office on or about February 1,

          2023.


   3.     On February 3, 2023, RB was served a Summons and Complaint regarding this action.

          (See Verified Return of Service attached hereto as Exhibit “A”)




                                                                               PY
   4.     Plaintiff’s process service provider attempted to serve process on VANDERLAAN at the




                                                                     CO
          same time it served RB. However, it was revealed at that time that VANDERLAAN is no

          longer employed by RB.




                                                              D
   5.     Upon information and belief, Counsel for RB refused to accept service on
                                                       IE
          VANDERLAAN’S behalf. The undersigned has made a good faith attempt to have
                                                 IF
          VANDERLAAN served and failure to do so has not been due to willful, deliberate or
                                        RT


          contumacious disobedience.
                              CE



   6.     Since VANDERLAAN is a Florida Law enforcement officer, his address has been

          impossible to discover and as such, Plaintiff needs additional time and latitude to locate
                       A




          and serve Defendant VANDERLAAN.
                  T
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   LEGAL ARGUMENT
        N




   I. SERVICE OF PROCESS

   Florida Rule of Civil Procedure 1.070(j) [p]rovides a trial court with three options when service

   has not been perfected within 120 days of the filing of the complaint. The options are: “(1) direct

   that service be effected within a specified time; (2) dismiss the action without prejudice; or (3)
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   drop [the unserved] defendant as a party.” Chaffin v. Jacobson, 793 So.2d 102, 103–104 (Fla. 2d

   DCA 2001). Where good cause or excusable neglect for failure to make timely service has been

   demonstrated, a trial court must extend the time for service “and has no discretion to do

   otherwise.” Id. at 104. Where no good cause or excusable neglect exists, the trial court is left to

   exercise its discretion as to which of the three options to select, except where the statute of




                                                                                PY
   limitations has run. Where the statute of limitations has run, discretion should normally be




                                                                      CO
   exercised in favor of extending the time for service of process. Von Mitschke-Collande v.

   Skipworth Props. Ltd., 201 So.3d 660 (Fla. App. 2016)




                                                               D
                                                        IE
   Even where a Plaintiff has not acted diligently and has failed to demonstrate either good cause or

   excusable neglect, he should still be afforded an opportunity to serve a Defendant when the
                                                 IF
   statute of limitations on a negligence claim has run. This is so, because Rule 1.070(j) is a rule of
                                        RT


   administrative convenience which should not trump the preference for trials on the merits. Id.
                               CE



   The purpose of Rule 1.070(j) is to speed the progress of cases on the civil docket, but not to give

   defendants a "free" dismissal with prejudice. Thus, where there has been no showing of good
                        A




   cause or excusable neglect, but the statute of limitations has run, discretion should normally be
                 T




   exercised in favor of giving the plaintiff an extension of time to accomplish service. Skrbic v.
            O
       N




   QCRC Assocs. Corp., 761 So. 2d 349, 354 (Fla. 3d DCA 2000)


   The Eleventh Circuit further provides that even where a plaintiff fails to show good cause, the

   facts of the case may still justify an extension. See Vu, 2018 U.S. Dist. LEXIS 33130, at *3

   (quoting Lepone-Dempsey v. Carrol County Comm’rs, 476 F.3d 1277 1282 (11th Cir. 2007)); see

   also Horenkamp v. Van Winkle & Co., 476 F.3d 1277, 1282 (11th Cir. 2005); see also Fed. R.
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   Civ. P. 4(m), advisory committee notes, 1993 Amendments. Additionally, the Advisory Commit-

   tee recognized the likelihood that there would be a need to extend the deadline for      service of

   process:


   Shortening the presumptive time for service will increase the frequency of occasions to extend




                                                                                PY
   the time. More time may be needed, for example, when a request to waive service fails, a

   defendant is difficult to serve, or a marshal is to make service in an in forma pauperis action. See




                                                                      CO
   Fed. R. Civ. P. 4(m), advisory committee notes, 2015 Amendments.




                                                               D
   Here, Plaintiff has attempted to serve VANDERLAAN within120 days of the filing of the
                                                        IE
   complaint with his former employer RB. Prior to that point Plaintiff was unaware that
                                                 IF
   VANDERLAAN was no longer employed by RB. As of this pleading, Plaintiff is attempting to
                                        RT

   locate VABNDERLAAN to serve process. The Court should extend the deadline for Plaintiff to

   perfect service because the Plaintiff has shown good cause why service had not been perfected
                               CE




   and because to refuse to do so would in effect dismiss Plaintiff’s claims with prejudice violating
                             A




   the spirit of the rule.
                   T




   CONCLUSION
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   The delay in service will not prejudiced the opposing party through undue expense, loss of

   evidence, or in any other fashion and has not created any significant problems of judicial

   administration. In final support of this Motion, Plaintiff asserts that neither the parties, nor the

   Court would be prejudiced by a 60 day extension of time to serve VANDERLAAN with the

   Summons and Complaint in this matter. As a result of the foregoing, Plaintiff requests that RB be
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   compelled to provide VANDERLAAN’s known home address, date of birth and social security

   number under seal of court in order to allow Plaintiff to have VANDERLAAN properly served.


   WHEREFORE, the Plaintiff, ONEAL, respectfully requests that the Court issue an Order

   granting Plaintiff an extension of time to serve VANDERLAAN a summons and complaint in




                                                                              PY
   this matter as well as an order directing RB to disclose Defendant VANDERLANN’S residence

   address, mailing address, date of birth and social security number under seal of court in order to




                                                                    CO
   allow Plaintiff to have VANDERLANN properly served as set forth in this Motion.




                                                             D
                                     CERTIFICATE OF SERVICE
                                                       IE
                  I HEREBY CERTIFY that a true and correct copy of the foregoing was furnished
                                                IF
          via Electronic Mail Service on February 6, 2023 to the attached Service List.
                                       RT

                                                               Respectfully submitted,
                              CE



                                                               The Barber Firm, LLC
                                                               4440 PGA Blvd. Suite 600
                                                               Palm Beach Gardens, FL 33410
                       A




                                                               Zedrick@thebarberfirm.us
                                                               (561) 221-1708
                 T




                                                               By: /s/ Zedrick Barber II
            O




                                                               Zedrick Barber, II, Esq.
       N




                                                               Florida Bar No. 0110326
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              EXHIBIT “A”




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                                          VERIFIED RETURN OF SERVICE
   State of Florida                                     County of Palm Beach                                                   Circuit Court
   Case Number: 50 2022 CA 009847 XXXX MB
   Plaintiff: KWAMAIN ONEAL
   vs.                                                                                                               BII2023001692
   Defendant: CITY OF RIVIERA BEACH AND JOHN VANDERLAAN
   For:
   Zedrick Barber II, Esq
   The Barber Firm LLC
   4440 PGA blvd
   Suite 600
   Palm Beach Gardens, FL 33410




                                                                                                                     PY
   Received by Burke Process Service on the 3rd day of February, 2023 at 9:28 am to be served on CITY OF RIVIERA
   BEACH C/O MAYOR RONNIE FELDER, 600 W. BLUE HERON BOULEVARD, RIVIERA BEACH, FL 33404.

   I, Arturo Gonzalez, do hereby affirm that on the 3rd day of February, 2023 at 4:34 pm, I:




                                                                                                      CO
   GOVERNMENT AGENCY: served by delivering a true copy of the Summons, Standing Order for Case
   Management and Submission of Agreed Case Management Plan in Civil Cases in the Fifteenth Judicial
   Circuit Filed on or after April 30, 2021 and Complaint with Exhibits with the date and hour of service endorsed
   thereon by me, to: DAWN GYNN as CITY ATTORNEY for CITY OF RIVIERA BEACH C/O MAYOR RONNIE




                                                                                          D
   FELDER at the address of 1481 W 15th St, RIVIERA BEACH, FL 33404, and informed said person of the contents
   therein, in compliance with State Statutes.

   Additional Information pertaining to this Service:                          IE
   2/3/2023 4:21 pm Attempted service at 600 W. BLUE HERON BOULEVARD, RIVIERA BEACH, FL 33404, but
   refused by the Circuit Court and instructed to serve the city of Riviera beach paper at 1481 W. 15th St. in Riviera
                                                                    IF
   Beach to the legal department. They also stated they have no idea who John Vanderlaan is. I will attempt 2nd
   address.
                                                     RT

   Description of Person Served: Age: 40, Sex: F, Race/Skin Color: Brown, Height: 5'10", Weight: 190, Hair: Light
   Brown, Glasses: Y
   Under penalties of perjury, I declare that I have read the foregoing Return of Service and the facts stated are true
   and correct. NO NOTARY REQUIRED PURSUANT TO F.S. 92.525 (2). I certify that I am over the age of 18, have
                                     CE



   no interest in the above action and am a Process Server, in good standing, in the judicial circuit in which the process
   was served.
                            A




                                                                                Arturo Gonzalez
                                                                                CPS #1416
                      T




                                                                                Burke Process Service
                                                                                7200 W. Camino Real
              O




                                                                                Suite 102
                                                                                Boca Raton, FL 33433
        N




                                                                                (954) 514-0116

                                                                                Our Job Serial Number: BII-2023001692




                                  Copyright © 1992-2023 DreamBuilt Software, Inc. - Process Server's Toolbox V8.2k
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                                               IN THE CIRCUIT COURT OF THE 15TH JUDICIAL CIRCUIT
                                                    IN AND FOR PALM BEACH COUNTY, FLORIDA


                                                                                 CASECASE
                                                                                      NO.: NO.
                                                                                           50-2022-CA-009847-XXXX-MB
                                KWAMAIN ONEAL,

                                      Plaintiff,

                                vs.




                                                                                           PY
                                CITY OF RIVIERA BEACH AND JOHN VANDERLAAN




                                                                                   CO
                                      Defendant(s),

                                ___________________________________/




                                                                              D
                                                                  SUMMONS
                                                                           IE
                                                                       IF
                                                              RT

                                THE STATE OF FLORIDA:

                                TO EACH SHERIFF OF THE STATE:
                                                       CE



                                YOU ARE COMMANDED TO SERVE THIS SUMMONS AND A COPY OF THE
                                COMPLAINT IN THIS ACTION ON DEFENDANT(S)
                                                   A




                                      CITY
                                      City ofOF RIVIERA
                                              Riviera BeachBEACH
                                                            MAYORC/O MAYOR
                                                                  RONNIE   RONNIE FELDER
                                                                         FELDOR
                                      600 W. Blue Heron Boulevard
                                             T




                                      RIVIERA BEACH FL 33404
                                        O
                                      N




                                EACH DEFENDANT IS REQUIRED TO SERVE WRITTEN ANSWER CONTAINING ALL
                                DEFENSES OF LAW OR FACT TO SAID COMPLAINT ON PLAINTIFF’S ATTORNEY,
                                WHOSE NAME AND ADDRESS IS

                                      ZEDRICK BARBER II, ESQUIRE
                                      THE BARBER FIRM, LLC
                                      4440 PGA BLVD. SUITE 600
                                      PALM BEACH GARDENS, FLORIDA 33410
   DELIVERED 2/3/2023 4:34 PM
   SERVER
   LICENSE
             AG
             CPS #1416
                                                                       1
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    “Si usted es una persona minusválida que necesita algún acomodamiento para poder participar en
    este procedimiento, usted tiene derecho, sin tener gastos propios, a que se le provea cierta ayuda.
    Tenga la amabilidad de ponerse en contacto con Tammy Anton, 205 N. Dixie Highway, West
    Palm Beach, Florida 33401; teléfono número (561) 355-4380, por lo menos 7 días antes de la
    cita fijada para su comparecencia en los tribunales, o inmediatamente después de recibir esta no-
    tificación si el tiempo antes de la comparecencia que se ha programado es menos de 7 días; si
    usted tiene discapacitación del oído o de la voz, llame al 711.”




                                                                                PY
    “Si ou se yon moun ki enfim ki bezwen akomodasyon pou w ka patisipe nan pwosedi sa, ou kali-
    fye san ou pa gen okenn lajan pou w peye, gen pwovizyon pou jwen kèk èd. Tanpri kontakte
    Tammy Anton, kòòdonatè pwogram Lwa pou ameriken ki Enfim yo nan Tribinal Konte Palm




                                                                      CO
    Beach la ki nan 205 North Dixie Highway, West Palm Beach, Florida 33401; telefòn li se (561)
    355-4380 nan 7 jou anvan dat ou gen randevou pou parèt nan tribinal la, oubyen imedyatman
    apre ou fin resevwa konvokasyon an si lè ou gen pou w parèt nan tribinal la mwens ke 7 jou; si
    ou gen pwoblèm pou w tande oubyen pale, rele 711.”




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